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                                                    UNITED STATES DISTRICT COURT
              15
                                                   NORTHERN DISTRICT OF CALIFORNIA
              16
                    FULLER, et al.                                    CASE NO. 3:23-CV-01440-AGT
              17
                                     Plaintiffs,
              18                                                      NOTICE OF APPEARANCE OF
                            v.                                        BRIAN DANITZ
              19

              20    BLOOM INSTITUTE OF TECHNOLOGY,
                    et al.,
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              22                     Defendants.

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                     NOTICE OF APPEARANCE OF BRIAN DANITZ; Case No. 3:23-CV-01440-AGT
                          Case 3:23-cv-01440-AGT Document 48 Filed 08/30/23 Page 2 of 2



                1
                    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
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                           PLEASE TAKE NOTICE that Brian Danitz, California State Bar Number 247403, of the law
                3
                    firm Cotchett, Pitre & McCarthy, LLP, hereby makes an appearance on behalf of Plaintiffs in the
                4
                    above-captioned matter, and requests that all future correspondence, notices, pleadings, and other
                5
                    filings and service related to this matter be sent to him at the following address:
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                    Dated: August 30, 2023                 COTCHETT, PITRE & McCARTHY, LLP
              13

              14                                           By:    /s/ Brian Danitz
                                                                  JUSTIN BERGER
              15                                                  BRIAN DANITZ

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              18                                               DAVID BALTMANIS

              19                                           MINER, BARNHILL & GALLAND, P.C.
                                                               RYAN MILLER
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